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           EXHIBIT B
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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

 EVERGREEN POWER, LLC and                                   : CIVIL ACTION NO.
 ASNAT REALTY, LLC                                          : 3:12-CV-00032 (SRU)

                     Plaintiffs,
 V.

 UNITED ILLUMINATING
 COMPANY
                                                            : SEPTEMBER 10, 2012
                     Defendant.

                               AFFIDAVIT OF DAVID F. HURLEY


        I, DAVID F. HURLEY, being duly sworn, deposes and says as follows:

        1.       I am over the age of 18 and I believe in the obligations of an oath.

        2.       I am and have been a Connecticut Licensed Environmental Professional (LEP) in

good standing since June 1, 1999.

        3.       I am a Vice President with Fuss & O'Neill, Inc.

        4.       The attached resume is a true and accurate statement of my education, credentials

and professional experience. [UI0056461.

        5.       The information stated herein is based on my personal knowledge and belief.

        6.       In developing my opinions, I have relied on information, data and reports listed

on Table 1, attached hereto, which information, data and reports relate to certain real property

located at 510 Grand Avenue, New Haven, Connecticut (the "Property"). My understanding is

that the Property is comprised of two parcels. Parcel A is owned by Evergreen Power, LLC

("Evergreen Power") and Parcel B is owned by Asnat Realty, Inc. ("Asnat"). I have also

reviewed the exhibits which are part of Plaintiffs' Motion for Partial Summary Judgment dated

July 30, 2012.
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        7.      Information that I have reviewed and rely on to assess relevant facts and develop

 my professional opinion for purposes of this affidavit is in the nature of information ordinarily

 relied upon by environmental professionals, including LEPs, in the ordinary course.

        8.      Based upon the information I have reviewed, which is further detailed below, it

appears that Evergreen Power and Asnat and those with whom they have contracted are engaged

in demolition and scrapping and salvaging of materials on the Property, and that this activity

resulted in: (a) the issuance of a Cease and Desist Order by the Connecticut Department of

Energy & Environmental Protection ("CT DEEP") to Asnat, Evergreen Power, Jaqueline Cohen,

Grant Mackay Demolition Company, Grant Mackay Company, d/b/a Grant Mackay Demolition

Company, and Joseph Vendetti on February 8, 2012 ("CT DEEP Cease and Desist Order"); and

(b) the issuance of a September 14, 2011 Administrative Complaint by the United States

Environmental Protection (EPA) against Asnat and Evergreen Power, which claims that

Evergreen Power and Asnat violated the Toxic Substances Control Act ("TSCA") and

regulations at 40 C.F.R. Part 761 in connection with activities associated with Asnat's January

2011 shipment of waste transformer oil containing polychlorinated biphynels ("PCBs")

(collectively, "CT DEEP and EPA Enforcement Actions").

       9.      My conclusions following my review of the invoices and affidavits of Dina

Deutscher, Marc I. Casslar, and John J. Insall, which Plaintiffs submitted in support of their

Motion for Partial Summary Judgment dated July 30, 2012, include the following:

       a.      Of $300,572.92, which appears to be the total amount of the invoices submitted,

               at least $168,238.84 appear to be associated with the recycling, assessment and

               removal of equipment and building materials, and the demolition activities at the

               Property. It can not be discerned from the information on the invoices whether


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       the activity that is described took place on Parcel A, Parcel B or both parcels. Of

       note, with the exception of five (5) invoices, the subject invoices appear to have

       been billed to Community Retail, an entity whose relationship to the Property and

      Evergreen Power and Asnat is not known; the five exception invoices appears to

      have been billed to Asnat. See Pls. Exh. 8, GeoQuest invoices 4354, 4363, 4408,

      4440, 4471, 4527, 4602, 4588, 4662, 4715, 4734, and 4747.

b.    Of $300,572.92, which appears to be the total amount of the invoices submitted,

      at least $31,582.00 appear to be primarily associated with the assessment and

      management of asbestos-containing building materials in buildings located on the

      Property. Again, it can not be discerned from the information on the invoices

      whether the activity that is described took place on Parcel A, Parcel B or both

      parcels. Of note, with the exception of one (1) invoice, these invoices appear to

      have been billed to Community Retail; the one exception invoice, which is stated

      as being for building asbestos assessment work, appears to have been billed to

      Asnat. See Pls. Exh. 4, GeoQuest invoices 2567, 2994, 3015, 3151, 4030, 4311,

      and 4503.

c.    Of $300,572.92, which appears to be the total amount of the invoices submitted,

      at least $94,995.78 appear to be associated with actions in response to the "CT

      DEEP and EPA Enforcement Actions". I have reviewed the CT DEEP and EPA

      Enforcement Actions. The referenced waste transformer oil is regulated under

     TSCA and appears to have been removed by or at the request of Asnat and/or

     Evergreen Power from equipment in or in the vicinity of the buildings on the

     Property in connection with Asnat and/or Evergreen Power's planned recycling,


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                 scrapping, salvage and/or demolition activity at the Property. See, Pls.' Exh. 8,

                GeoQuest invoices 4391, 4789, and 4815.

         d.     Of $300,572.92, which appears to be the total amount of the invoices submitted,

                at least $810.00 is identified as being for "professional services" or "C-RAP for

                English Station" with insufficient information to discern the nature or type of

                service that was rendered. (See Pls. Exh. 3, Stantec invoice 602673 and 602674).

        e.      Of $300,572.92, which appears to be the total amount of the invoices submitted,

                at least $2,800.80 appear to be associated with power generating permitting

                assistance to Community Retail. See, Pls. Exh. 4, GeoQuest invoice 2167.

        f.      Of $300,572.92, which appears to be the total amount of the invoices

                submitted, at least $2,145.50 is identified in two invoices issued in 2009 as being

                for "NCP review and consulting" and "National Contingency Plan documents",

                respectively. There is, however, no further indication as to the nature of these

                services and no basis is provided on which to conclude that these services were

                both necessary and consistent with the National Contingency Plan ("NCP"). I am

                familiar with the National Contingency Plan, which appears at 40 C.F.R. Part 300.

                See, Pls. Exh. 5 , GeoQuest invoices 3671 and 3793.

        10.    I have also reviewed GeoQuest's March 9, 2012 Revised Short-Term Work Plan,

wherein GeoQuest states that activities described in their Short-Term Work Plan were in support

of recycling materials in or around the Main Building and ancillary buildings and structures, and

to support salvage and recycling activities at and affecting the Property by and/or at the direction

of the Plaintiffs and/or their contractors or affiliates. GeoQuest2012 Revised Short Term Work
                                                                                       -




Plan, 1, 2, 18, Exh. 2 [U1005302-5303, U1005319]. This Revised Short-Term Work Plan, like


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 an earlier plan submitted by GeoQuest to CT DEEP on behalf of Plaintiffs on February 21, 2012

 and disapproved by CT DEEP on March 1, 2012 ("CT DEEP 2012 Disapproval Letter"), Exh. 26

 [U1005924 5928], appears to have been prepared and filed with CT DEEP in response to CT
              -




 DEEP's February 8, 2012 Cease and Desist Order, which directed Asnat and Evergreen Power

 (as well as the other recipients of that Order) to submit and implement "a plan which details the

 actions to be taken to investigate, and as needed decontaminate, the PCBs and other hazardous

 contaminants in and around the buildings to make the buildings safe for demolition". This plan

was to be approved in writing by CT DEEP.

        11.       Upon information and belief, GeoQuest, with the assistance of Loureiro

Engineering Associates, also prepared a February 7, 2012 PCB Self Implementing Plan for Asnat

and Evergreen ("2012 PCB Self Implementing Plan"), "presenting a strategy for remediation of

building materials contaminated with PCBs in the former electrical power plant on the ASNAT

Site." CT DEEP 2012 Cease and Desist Order 145, Exh. 3 [U1005177].

        12.       I am not aware of any documentation that either the 2012 Revised Short-Term

Work Plan or the 2012 PCB Self Implementing Plan, which appear to have been prepared for

purposes of assuring proper implementation of Asnat and/or Evergreen's planned recycling,

scrapping, salvage and/or demolition activities at the Property in 2011 and 2012, have been

approved by either CT DEEP or EPA. I am also not aware of any documentation of either public

involvement with the 2012 PCB Self Implementing Plan or the CT DEEP and EPA Enforcement

Actions or the ultimate disposition of the CT DEEP and EPA Enforcement Actions.

       13.        Based upon my review of the CT DEEP and EPA Enforcement Actions, I

conclude the following:




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         a.       The invoices provided by Evergreen Power and Asnat (not all of which were

                   issued to either Evergreen Power or Asnat and none of which were issued to

                  Evergreen Power) do not adequately support their assertion that the costs recited

                  in these invoices were both necessary and incurred consistent with the NCP.

        b.        Both the timing and the content of these invoices, with the possible exception of

                  the invoice dated June 2, 2006, which is prior to the acquisition of the Property

                  by Evergreen Power and Asnat and is identified as relating to power generating

                  permit assistance, support a conclusion that the referenced costs were incurred by

                  Plaintiffs in connection with the performance of the recycling, scrapping, salvage

                  and demolition activities referenced above and/or the response by Asnat and/or

                  Evergreen Power to the CT DEEP and EPA Enforcement Actions pertaining to

                  acts or omissions of Asnat and Evergreen Power and/or others with whom they

                  had contracted to perform such activities.

        c.        The information presented does not demonstrate that the costs Evergreen Power

                  and Asnat claim they have incurred are related to releases in areas which occurred

                  prior to 2000 or during The United Illuminating Company's ("UI") ownership and

                  operation of the Property.

        14.      Based on my review of the available information, data and reports, remedial

action at the Property consistent with and in furtherance of previously prepared remedial action

plans and a final remedy for all or portions of the Property had commenced as early as 1998.

       a. Remedial action commenced in 1998 in the area of the bulkhead located on the

              Property. U1 Subsurface Investigation and Remediation Plan Report for English

              Station, August 1998, Exh. 1 [U100859].


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 b. Remedial actions recommended in GEI's 2000 Draft Remedial Action Plan ("RAP")

    to meet industrial/commercial standards in Connecticut's Remediation Standards

    Regulations (the "RSRs") (GEI 2000 Draft RAP 1, Exh. 4 [U1000947]) that have

    been implemented at the Property include the following:

       Recommended Action: GEI indicated that PCBs >1 ppm and < 10 ppm would be

       covered with a cap, and that soils with PCBs > 10 ppm would be excavated and

       disposed of off-site. GET 2000 Draft RAP 19, Exh. 4 [U10009651.

              Completed Action: In 2003, PCB-impacted soil and concrete were being

              cleaned up on the Property in accordance with the 2002 sitewide plan by

              excavation and removal of soils, scarification and/or capping.   AEI 2003

              Request for Widespread Polluted Fill Variance 11, Exh. 5 [U1002117].

              Completed Action: An overhead crane inside Station B on the Property

              was decontaminated. Based on the dates of characterization and

              verification sampling, the crane was decontaminated in 2002. The Annex

              III floor located in Station B was remediated to 1 ppm. The remediation

              consisted of two scarifications followed by the removal and disposal of

              concrete that did not meet the 1 ppm goal after the second scarification.

              Based on the dates of the "verification sampling," which is a term used

              when referring to methods for confirmation of the adequacy of a final

              remedial action, the remediation of the floor was conducted in 2002 with

              additional characterization samples being collected in 2001 and 2004. As

             of March 2005, Advanced Environmental Interface ("AEI") believed that

             Parcel A's Station B building interior had been remediated to less than 1


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               ppm on pervious surfaces and less than 10 ppm on stained impervious

               surfaces AEI 2005 Interim PCB Report for Station B Parcel Sale 3-4, 18-

               22, Exh. 6 [U1002750-54, U1002767-2771].

               Completed Action: Scarification of additional portions of the Station 13

               floor was conducted in 2008 to address PCBs that had been detected at

               concentrations greater than 1 ppm since 2005. Several areas with PCBs >

               1 ppm remained after scarification. Soil and asphalt containing PCBs was

               remediated by excavation in November and December 2007. Two areas in

               the central coal yard on Parcel A were remediated to concentrations less

               than or equal to 1 ppm. One area in the southwest coal yard was

               remediated to PCB concentrations less than or equal to 10 ppm. AEI 2007

               Parcel A PCB Cleanup Plan 4, Exh. 7 [UI003889]; AEI 2008 Interim

              Parcel A PCB Cleanup Status Report, Exh. 8 [U1005154-5153]. A portion

              of the southwest coal yard remediation area was located on "Parcel B."

              GeoQuest 2012 Revised Short-Term Work Plan Figure 1-2, Exh. 2

              [U1005329]. It is noted that the boundary between Parcel A (Station B)

              and Parcel B (the Plant Parcel) is different on various maps. AEI 2006

              Station B Parcel PCB Cleanup Plan 12, Exh. 9 [U1003222]; AEI 2008

              Interim Parcel A PCB Cleanup Status Report 4, Exh. 8 [UI005155];

              GeoQuest 2012 Revised Short-Term Work Plan Figure 1-2, Exh. 2

              [U1005329].

 ii.   Recommended Action: GET proposed as a final remedy for two areas the

       excavation of soil where SVOCs exceeded the GB pollutant mobility criteria


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       ("PMC") (area of concern ("AOC") 7 and AOC 13) and the capping of soil in the

       coal yard that exceeded the I/C DEC for arsenic. GEI 2000 Draft RAP 20, Exh. 4

       [U1000966].

              Completed Action: In 2003, AEI prepared a request for a variance from

              the PMC for wide-spread polluted fill at the Property. The request

              attributed much of the heavy hydrocarbon compounds (including

             polyaromatic hydrocarbons ("PAHs"), which are a subset of SVOCs) to

             historic dredge spoils used to create the island and not uses or operations

             on the Property. Coal and coke fragments as well as coal ash were also

             identified in the fill by AEI. A variance is a remediation measure to

             achieve final compliance with the PMC as provided in Section 22a-133k-

             2(f) of the Connecticut RSRs. CT DEEP approved this variance request in

             March 2003. Also by 2003, a concrete floor had been placed over the

             former earthen basement of Station B to render inaccessible soil

             containing lead, arsenic, and PAHs above the industrial/commercial

             ("I/C") DEC associated with historic fill. AEI 2001 RAP for Former Coal

             Yard Area 10, Exh. 10 [U1001201]; AEI 2003 Request for Wide-Spread

             Polluted Fill Variance 14, 21, Exh. 5 [U1002120, U1002127]; AEI 2005

             Interim PCB Report for Station B Parcel Sale 4, Exh. 6 [U1002751]; AEI

             2005 Engineered Control Variance Request 2-3, Exh. 11 [U1000964-

             0966] .
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           Recommended Action: GET proposed remediating PCB-impacted soil at capacitor

           bank 1 located on Parcel B and disposing of or encapsulating concrete. GEI 2000

           Draft RAP 18-20, Exh. 4 [U1000964-0966].

                  Completed Action: AEI presented pre- and post-excavation soil sample

                  data and post-cleanup confirmation soil sample data from the capacitor

                  bank I location dated 2002. AEI 2002 Site-Wide PCB Characterization

                  and Cleanup Plan 23-24, 41, Exh. 12 [U1001251-1252, U1001270].

                 Therefore, there is a strong likelihood that the final remedial action was

                 completed in this area prior to 2002.

 c. Remedial actions recommended in AEI's 2001 Remedial Action Plan for the Former

    Coal Yard Area and implemented in anticipation of repowering-related construction

    on the Property (AEI 2001 RAP for Former Coal Yard Area 6, Exh. 10 [UI001970])

    include the following:

      i.      Recommended Action: AEI recommended pursuit of a widespread polluted fill

              variance to achieve compliance with the PMC. AEI 2001 RAP for Former

              Coal Yard Area 15, Exh. 10 [U1001206].

                 Completed Action: In 2003, AEI prepared a request for a variance to

                 satisfy PMC requirements for wide-spread polluted fill on the Property.

                 The variance was approved by CT DEEP in March 2003. AEI 2003

                 Request for Widespread Polluted Fill Variance, Exh. 5; AEI 2005

                 Engineered Control Variance Request 2-3, Exh. 11 [U1003168].

d. Remedial actions recommended in AEI's 2002 Site-Wide PCB Characterization and

   Cleanup Plan, Exh. 12:


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       Recommended Action: AEI's 2002 cleanup plan proposed cleanup options

       depending on the anticipated use of the Property. Where industrial or commercial

       use was anticipated, excavation to 10 ppm and capping was recommended. AEI

      2002 Site-Wide PCB Characterization and Cleanup Plan 54, Exh. 12

       [UI001283].

              Completed Action: In November/December 2007, two areas in the central

              coal yard on Parcel A were remediated to concentrations less than or equal

              to 1 ppm, and one area in the southwest coal yard was remediated to PCB

              concentrations less than or equal to 10 ppm with an intention to install a

              cap. AEI 2008 Interim Parcel A PCB Cleanup Status Report, Exh. 8

              [U1005153-5154, U1005165-5171].

      Recommended Action: In 2007, the EPA approved AEI's April 2007 Parcel A

      PCB Cleanup Plan. Planned actions included scarification of the Station B floor,

      removal of sediment from a section of a tunnel, the removal of PCB-impacted

      asphalt and soil in "Area 2.2" to 1 ppm, and the removal of PCB-impacted soil at

      "Area 3.2" to achieve 10 ppm. AEI 2007 Parcel A PCB Cleanup Plan 10, 14, 15,

      Exh. 7 [UI003895, U1003899, U1003900]; EPA 2007 PCB Disposal Approval,

      Exh. 13. The plan noted that some PCB contamination had already been cleaned

      up, including scarification of Annex III, removal of PCB-impacted concrete, and

      capping of the earthen basement. AEI 2007 Parcel A PCB Cleanup Plan 10-11,

      Exh. 7 [U1003895-3896].

             Completed Action: Remediation of porous and non-porous surfaces inside

             Station B and the excavation of PCB-impacted soil in the coal yard (and
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                         extending onto the northern portion of the Plant parcel) were completed in

                         2007 and 2008 in accordance with the EPA approved AEI April 2007

                         Parcel A PCB Cleanup Plan. AEI 2008 Interim Parcel A PCB Cleanup

                         Status Report, Exh. 8 [UI005152-5154, UI005156-5157, UI005165,

                         UI005169].

       15.       Information, data and reports reviewed support the conclusion that actions taken

at the Property by Evergreen Power, Asnat and/or persons or entities other than UI, including

documented actions since UI's transfer of the Property in 2000, may have caused claimed PCB

contamination on the Property. Examples of such actions include the following:

       a. The river was dredged by the U.S. Army Corps of Engineers to support shipping and

             changes in the U.S. Harbor Lines between 1872 and 1947. It is believed that the

             dredge spoils were disposed of by extending the island and that those dredge spoils

             were expected to contain coal tar products and contamination from surrounding

             industrial operations. AEI 2003 Request for Widespread Polluted Fill Variance at 1-

             8, Exh. 5 [UI002107-2113]. Given some of the industrial uses identified below,

             which had the potential to include the use of PCBs in electrical equipment, the dredge

             spoils could have contained PCBs.

      b. Known historical land uses along the river in the immediate vicinity of the Property

             included: a power plant for New Haven's electric trolley system, coal yards, a brass

             works, a wood preservative manufacturer, steel mills, an oil storage facility, steam

             engine and boiler manufacturing, wire works, chemical manufacturing, coal gas

          manufacturing, and an iron and scrap metal company. In addition, the river was used




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     for shipping and industrial waste discharges. AEI 2003 Request for Widespread

     Polluted Fill Variance 9, Exh. 5 [UI002115].

 c. In 1947, the United Scrap Iron & Metal Company began operating on the island north

     of Grand Avenue. In 1988, the CT DEEP (then known as the Connecticut

    Department of Environment Protection) issued an order against this company for

    maintaining PCB soil contamination at that property. AEI 2003 Request for

    Widespread Polluted Fill Variance 15, Exh. 5 [U1002121].

 d. AEI confirms that, prior to the transfer of the Property by UI to Quinnipiac Energy,

    LLC ("QE") in 2000, UI had removed all PCB and PCB-contaminated electrical

    equipment that was non-functional and that was not required for QE's planned restart

    of the power generating units in deactivated reserve at the Property. Equipment

    remaining at the Property, including equipment containing PCBs, was operational and

    necessary and, therefore, QE did not plan to remove it. AEI 2002 Site-Wide PCB

    Characterization and Cleanup Plan 9, 10, Exh. 12 [UI001236-1237].

e. Determinations as to storage and disposal of PCB or PCB-Contaminated electrical

    equipment were made by UI under their standard operating procedures during UI's

    ownership of the Property, and any such equipment stored in the Annex III location

    was removed prior to the transfer of the Property to QE in 2000. AEI 2002 Site-wide

    PCB Characterization and Cleanup Plan 9, 10, Exh. 12 [UI001236-1237].

f. QE performed engineering and maintenance work at the Property in preparing to

   operate two units for peaking power and to ultimately repower the existing units at

   the Property. Pls.' Exh. 6, AEI 2012 PCB Sources 1, [P000051].




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 g. AEI oversaw the removal of a small volume of lubricating oil from the motor sumps

    in the overhead crane during QE's ownership of the Property. AEI 2007 Parcel A

    PCB Cleanup Plan 9, Exh. 7 [UI003894].

 h. Evergreen Power and/or Asnat were engaged in recycling, scrapping, salvage and

    demolition-related activities at the Property during which approximately 640 tons of

    metal were removed from the Property by Grant Mackay Demolition Company

    between December 16, 2011 and February 9, 2012. Geo Quest 2012 Revised Short-

    Term Work Plan Attachment 1, Materials Management Log, Exh. 2 [U1005354]. In

    addition, GeoQuest, TetraTech, Loureiro Engineering Associates, and Classic

    Environmental were performing work on the Property in support of the

    salvage/scrapping/recycling of equipment at the Property, including PCB-containing

    equipment. GeoQuest 2012 Revised Short-Term Work Plan 8, 10-11, 18, Exh. 2

    [U1005309, U1005311-5312, U1005319].

i. PCB oil was removed from five (5) PCB transformers and 3 non-PCB transformers

    on the Property in January 2011. CT DEEP 2012 Cease and Desist Order ellA25,

   Exh. 3 [UI005175]. EPA states that Asnat and Evergreen Power began PCB waste

   handling activities at the Property "at least sometime in or after December 2006."

   EPA 2011 Complaint ¶35, 37, 38, Exh. 14 [UI005191].

 . The manner in which Asnat and Evergreen Power and/or their contractors handled

   PCBs on the Property and generated PCB waste transformer oil led to the issuance of

   the CT DEEP and EPA Enforcement Actions, EPA 2011 Complaint, Exh. 14; CT

   DEEP 2012 Cease and Desist Order, Exh. 3.




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 k. In the 2012 Cease and Desist Order, CT DEEP observes that warning signs required

    at the Property because of conditions identified in a significant environmental hazard

    report filed in March 1, 2005 had been removed and equipment had been placed on

    soil that was contaminated by PCBs. CT DEEP 2012 Cease and Desist Order 1117,

    34, Exh. 3 [U1005174-5175].


 1. In the 2012 Cease and Desist Order, CT DEEP alleges that demolition and scrapping

    activities conducted and being conducted at the Property by Asnat, Evergreen and

    other entities other than UI without properly managing PCBs and other contaminants

    are likely to result in imminent and substantial damage to the environment or public

    health. CT DEEP 2012 Cease and Desist OrderTA46, Exh. 3 [U10051771.

m. Regan Metals operated on the Property in 2005. AEI 2005 Actions Taken in

    Response to Significant Environmental Hazard Letter 1,Exh. 15 [UI003162 . While

    the specific nature of Regan Metals' operations is not known, Regan Metals

    Corporation, located in New Haven, Connecticut, is known as a scrap metal recycling

    company.

n. A review of available aerial photographs, which are in the nature of information

   generally accessed and reviewed by LEPs when performing an assessment of the

   history of a site and for purposes of identifying areas of potential environmental

   concern, indicates the following activities have occurred at the Property since UI's

   transfer of the Property to QE in 2000, which activities could have resulted in releases

   or threatened releases of hazardous substances:

    i. At least two capacitor banks (1 and 2) appear in the April 2001 aerial photographs

       (Eastern Topographics, N0239-0928 CAM, April 15, 2001, Exh. 16 [151005640]),

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       but do not appear in subsequent aerial photographs beginning in 2004. See, e.g.,

       2004 CT DEEP, Exh. 17 [U1005641].

    ii. There is no storage shown in aerial photographs of Parcel A from 2000 and 2001,

       while an aerial photograph of Parcel A from 2004, that is, years after the 2000

       transfer of the Property to QE, shows significant storage of containers and soil on

       Parcel A. Connecticut State Archives, 2000, Exh. 18 [U1005639]; Eastern

       Topographics (N0239-0928 CAM, April 15, 2001), Exh. 16 [U1005640]); 2004

       CT DEEP, Exh. 17 [UI005641]. Much of the stored material was removed as of

       the date of the 2006 aerial photograph, but some debris and a truck trailer are

       visible through the date of 2012 aerial photograph. Pictometry 2006, Exh. 19

       [U1005642]; Google Earth, March 29, 2012, Exh. 20 [U1005645].

   iii. The concrete pads for three former northern capacitors (1, 2, and 3) appear in the

       2004 aerial photograph, but they were demolished by the time of the 2012 aerial

       photograph. 2004 CT DEEP, Exh. 17 [U1005641]; Google Earth, March 29,

       2012, Exh. 20 [UI005645]. One of these pads is present in the 2010 aerial

       photograph, but demolished by the time of the 2012 aerial photograph, Google

       Earth, September 10, 2010, Exh. 21 [UI005644]; Google Earth, March 29, 2012,

       Exh. 20 [U1006545].

   iv. Per the 2010 and 2012 aerial photographs, two transformers, an above ground

       storage tank, and some ironwork on the southwestern portion of the Property were

       removed between 2010 and 2012. Google Earth, September 10, 2010, Exh. 21

       [U1005644]; Google Earth, March 29, 2012, Exh. 20 [U1005645]. Some of this




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                   activity was in areas where significant environmental hazards were previously

                   identified.

        16.        AEI identified PCBs in paint on an overhead crane in Station B. The PCBs were

suspected to be part of the paint formulation and not a result of PCB oil use on the Property.

AEI 2007 Parcel A PCB Cleanup Plan 12 Exh. 7 [U1003897]; Pls. Exh. 6, AEI 2012 Report on

PCB Sources, Pls. Exh. 6 [P000052]. The presence of such materials does not constitute a

release unless and until the handling (e.g., demolition, salvage and scrapping activities)

occasions a release of the paint containing PCBs.

        17.        In January 2011, Asnat shipped 4,300 gallons of PCB-contaminated waste oil

generated in connection with recycling, scrapping, salvage and/or demolition activities to a

facility that was not authorized to receive and manage such waste. If any of the waste oil were

returned to the Property pending proper aiTangements for disposal, PCB oil would have been

brought onto the Property and any location of on-site storage of the waste oil, even if temporary,

would be a potential release area.

       18.         In summary, my opinions regarding the Property include the following:

              a.      Information provided by and cited to by Evergreen Power and Asnat does

                      demonstrate or support the conclusion that costs Evergreen Power and Asnat

                      claim to have incurred were both necessary and consistent with the NCP.

                      Further, such information does not demonstrate or support the conclusion that

                      the costs Evergreen Power and Asnat claim to have incurred were response

                      costs relating to releases of hazardous substances at the Property during UI's

                      ownership of or operation at the Property.




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    b.    A review of the information, data and reports, including the CT DEEP and

          EPA Enforcement Actions, supports a conclusion that, with the exception of

         costs identified in a June 2, 2006 invoice from GeoQuest for permitting

         assistance (which is not a response cost), the costs Evergreen Power and

         Asnat claim to have incurred are costs associated with the recycling,

         scrapping, salvage and/or demolition activities of Evergreen Power and Asnat

         at the Property or in response to the CT DEEP and EPA Enforcement Actions

         resulting from acts or omissions of Evergreen Power and Asnat.

    c.   CT DEEP disapproved the February 2012 Short Term Work Plan submitted

         by Evergreen Power and Asnat and there is no demonstration that either CT

         DEEP or EPA has approved either the Revised Short Term Work Plan or the

         2012 PCB Self Implementing Plan. Unless the plans have been approved, any

         actions taken or to be taken by Evergreen Power and Asnat to manage and

         address PCBs at the Property may not comply with applicable state and/or

         federal requirements and standards.

   d.    Based on the information reviewed, remedial action commenced at the

         Property in 1998.

   e.    There are activities that have occurred at the Property since UI's transfer of

         the Property to QE in 2000, including activities by Evergreen Power and

         Asnat and entities with whom they have contracted that have likely resulted in

         the release and threatened release of PCBs at the Property.
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                                        Based upon my review of the information, data and reports, it cannot be

                                        concluded that additional PCBs were not brought onto either Parcel A or

                                        Parcel B subsequent to the transfer of the Property by Ul to QE in 2000.

                              g. Based upon my review of the information, data and reports, 1 did not identify

                                       any record of PCB containing equipment on the Property as of the date of the

                                       transfer of the Property by Ul to QE in 2000 that was in a condition that did

                                       not comply with, and was not being used and maintained by Ul in compliance

                                       with, federal and state statutes and regulations pertaining to such equipment.

                                       Equipment that was left place as of the date of the transfer of the Property by

                                       Ul to QE was equipment that QE retained for intended future use.




              Subscribed and sworn befo                         his   day of September, 2012,




              Notary Public

              My Commission Expires: oil
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         FUSS & O'NEILL




                                  David F. Hurley, LEP, PG
                                  Vice President
                                  Mr. Hurley serves as a Project Director and Director of Brownfields
                                  Services. He has over 20 years of diversified environmental project
                                  experience, with emphasis on contaminant hydrogeology, investigative
                                  techniques and remediation. Mr. Hurley has managed a wide range of
                                  multidisciplinary projects including property transfer site assessments,
                                  hazardous waste investigations, compliance assessments, solid waste
                                  engineering and permitting, underground storage tanks, and remediation
                                  design and construction administration. In addition to technical expertise,
                                  he has experience with Brown fields incentives and funding programs.
Education
BS, Geology - 1979
State University of New York at   Mr. Hurley has extensive experience with brownfield redevelopment
Albany                            assisting both private developers and government agencies to bring
                                  environmentally impaired properties back to productive re-use. In addition
Licenses & Registrations          to technical expertise, he has experience with Brownfields incentives and
Professional Geologist KA'        funding programs. Mr. Hurley serves as a member of the Connecticut
Licensed Environmental            General Assembly's Brownfields Working Group.
Professional CT
                                  Mr. Hurley directs a variety of environmental projects :and is a regional
Professional Affiliations         expert in the area of Brownfields Redevelopment. Representative projects
National Brownfields Assoc.       include:
EPOC
                                  City of Hartford, CT: Project Director for a range of services in support
25 years with Fuss & O'Neill      of Hartford's Brownfields and Redevelopment Programs as well as on-
32 years Professional             going infrastructure programs. Phase I, II, and III Site Assessments,
Experience                        demolition and remediation, design and administration have been
                                  performed in support of property transactions for redevelopment.
                                  Numerous underground storage tank cleanups were undertaken. Other
                                  services provided include remediation oversight, tank system design, and
                                  asbestos and lead surveys, demolition design and management flood
                                  control system improvement design, pond restorations.

                                  Former Gilbert & Bennett Facility, Redding, CT: Project Director for
                                  comprehensive environmental services for the redevelopment of a 50 acre
                                  Brownfields site located along the Norwalk River in Georgetown,
                                  Connecticut. The Gilbert and Bennett Company had manufactured metal
                                  wire products from 1848 to 1989. This RCRA corrective action site is also
                                  subject to the Connecticut Property Transfer Act. Fuss & O'Neill has
                                  conducted a fast-tracked site investigation. The remediation will involve the
                                  development of a Town Center over most of the contamination and the
                                  closure of a RCRA landfill. Fuss & O'Neill teamed with Duany, Plater-
                                  Zyberk & Company, in a seven day design charrette that involved all
                                  stakeholders to design the Town Center. A remedial Action Plan was
                                  prepared and approved. The first Corrective Action Management Unit
                                  (CAMU) authorization in EPA Region 1 was granted. Fuss & O'Neill is on
                                  the design team of several intersection reconstruction projects, two of
                                  which are now under construction.



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                       Steel Point Development, Bridgeport, CT: Principal in Charge for
                       environmental and engineering services to a partnership of the Connecticut
                       Brownfields Redevelopment Agency, Connecticut Departments of
                       Economic and Community Development and Department of
                       Environmental Protection and the City of Bridgeport. Fuss & O'Neill
                       performed a comprehensive study of the 50 acre waterfront site to evaluate
                       regulatory, physical and infrastructure constraints on redevelopment.
                       Environmental conditions and remeclitl alternatives, geotechnical,
                       waterfront conditions, transportation, stormwater, site grading, flood zones,
                       utilities and all permitting requirements were evaluated. Fuss & O'Neill is
                       more recently providing these services to the developer of the site,
                       Bridgeport Landing Development, LLC.


                       CRCOG, Metropolitan Hartford, Hartford, CT: Project Director for
                       environmental assessment and engineering services for a regional
                       Brownfields program involving 39 cities and towns. The program is
                       managed by the Capital Region Council of Governments in conjunct on
                      with the Metro Hartford Alliance. Additional services including working
                       with member communities to develop remediation and funding strategies
                       for site redevelopment.


                       REX Development, CT: Fuss & O'Neill provides strategic consulting and
                       technical assistance For the Browntields Revolving I kian Fund and site
                       assessment to the New Haven Regional Economic development agency.
                       Services include providing oversight and review of proposals for eligibility
                       and remediation efforts by loan recipients and grantees, to determine
                       compliance with the NIOL with EPA and agreements with recipients.


                       Former National Welding Facility, Newington, CT: Project Director
                       for environmental services to implement a Brownfields Assessment Grant.
                       Most of the grant funds were used to conduct Phase     1, 11 and Ill
                       investigations and an asbestos survey of the former National Welding site.
                      A Quality Assurance Project Plan was prepared using Fuss &
                      previously approved generic QAPP and submitting the site specific QAPP
                       that detailed the sampling program and rational. Presentations were made
                       to the Town Council. A Remedial Action Plan is being prepared at this
                       time regarding the findings and development constraints.


                      Town of Windsor, CT: Project Director for environmental and solid
                      waste engineering services for this 55-acre RCRA regulated landfill. These
                       services have included groundwater monitoring, hazardous waste services,
                       permitting, air monitoring, landfill design and groundwater modeling and
                       leachate treatment design. The leachate treatment system will involve
                       passive groundwater collection and constructed wetlands treatment, Fuss &
                       O'Neill has assisted with numerous community outreach efforts including
                       technical support for the Post Closure Land Use Steering Committee and
                      Town Council meetings and forums regarding landfill management
                      decisions.




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                                            Fuss & O'Neill Table of Documents and Sources
                                                                            English Station


         Date                                                  Title                          Source
   5/27/1998        Phase I ESA                                                               GEI
    7/6/1998        Lab Reports (1998-05 to 1998-07)                                          CTL
   7/27/1998        Phase II-III Field Investigation                                          GEI
   8/10/1998        Investigation and Remediation Report                                      The United Illuminating Company
   5/26/1999        Preliminary Report of Supplemental Investigation                          EnviroShield, Inc.
   2/10/2000        Supplemental Investigation                                                EnviroShield, Inc.
   5/1/2000         Draft RAP                                                                 GEI
   5/1/2000         Suplemental Field Investigation                                           GE]
   9/15/2000        ECAF                                                                      Quinnipiac Energy
   4/13/2001        RAP for Former Coal Yard                                                  AEI
   7/12/2002        SiteWide PCB Characterization & Cleanup Plan (Vol 1)                      AEI
   7/12/2002        Sitewide PCB Characterization & Cleanup Plan (Vol 2)                      AEI
   1/10/2003        Request for Widespread Polluted Fill Variance                             AEI
   3/31/2005        Interim Parcel B PCB Report                                               AEI
   4/22/2005        Letter Re: Actions Taken Pertaining to Significant Environmental Hazard   AEI
  12/13/2005        ECVR for Station B                                                        AEI
   3/28/2006        Station B PCB Cleanup Plan                                                AEI
     4/2007         Parcel A PCB Cleanup Plan (Vol 1)                                         AEI
     4/2007         Parcel A PCB Cleanup Plan (Vol 2)                                         AEI
   5/7/2007         Approval of Parcel A PCB Plan                                             USEPA
   5/19/2008        Interim Parcel A PCB Cleanup Status Report                                AEI
   9/14/2011        Complaint Against ASNAT & Evergreen Power                                 USEPA
     2/2012         PCB Self-Implementing Plan                                                GeoQuest & LEA
   2/8/2012         Cease and Desist Order                                                    DEEP
   2/18/2012        Amended Complaint                                                         Evergreen & Asnat
   3/1/2012         Disapproval Letter for Short Term Work Plan                               DEEP
   3/9/2012         Revised Short Term Work Plan                                              GeoQuest & LEA
   5/11/2012        PCB Sources Report                                                        AEI
   7/30/2012        Motion for Summary Judgment as to Liability                               Evergreen Power, LLC and Asnat Realty, LLC.
   7/30/2012        Exhibit 1- Affidavit of Mehboob Shah - 7/23/2012                          Attached to Motion for Summary Judgment
   7/30/2012        Exhibit 2 - Answer to Second Amended Complaint - 5/9/2012                 Attached to Motion for Summary Judgment
   7/30/2012        Exhibit 3 - Affidavit of John Insall - 7/16/2012                          Attached to Motion for Summary Judgment
   7/30/2012        Exhibit 4 - Affidavit of Diana Deutscher - 7/16/2012                      Attached to Motion for Summary Judgment
   7/30/2012        Exhibit 5 - Quit Claim Deed - 8/16/2000                                   Attached to Motion for Summary Judgment
   7/30/2012        Exhibit 6- AEI Report on PCB Sources - 5/11/2012                          Attached to Motion for Summary Judgment
   7/30/2012        Exhibit 7 - Timothy Wasielewski - 7/9/2012                                Attached to Motion for Summary Judgment
   7/30/2012        Exhibit 8- Marc Casslar - 7/19/2012                                       Attached to Motion for Summary Judgment
   7/30/2012        Exhibit 9 - GEI Phase I ESA - 5/27/1998                                   Attached to Motion for Summary Judgment

Notes:
  AEI = Advanced Environmental Interface, Inc.                                                  GeoQuest = GeoQuest, Inc.
  CT DEEP = Connecticut Department of Energy and Environmental Protection                       LEA = Loureiro Engineering Associates, Inc.
  CTL = Connecticut Testing Laboratories                                                        USEPA = United States Environmental Protection Agency
  GEI = GEI Consultants, Inc.

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